                             Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 1 of 21

 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

                Southern District of Texas

 Case number (If known):                            Chapter you are filing under:
                                                   ❑        Chapter 7
                                                   ✔
                                                   ❑        Chapter 11
                                                   ❑
                                                   ❑
                                                            Chapter 12
                                                                                                                                           ❑Check if this is an
                                                            Chapter 13
                                                                                                                                               amended filing


Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                          12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                               About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Alexander
       Write the name that is on your          First name                                                      First name
       government-issued picture               Emeric
       identification (for example, your       Middle name                                                     Middle name
       driver’s license or passport).
                                               Jones
       Bring your picture identification       Last name                                                       Last name
       to your meeting with the trustee.
                                               Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have                Alex
       used in the last 8 years                First name                                                      First name

       Include your married or maiden                                                                          Middle name
                                               Middle name
       names and any assumed, trade
       names and doing business as             Jones
       names.                                  Last name                                                       Last name

       Do NOT list the name of any             Alexander
       separate legal entity such as a         First name                                                      First name
       corporation, partnership, or LLC
       that is not filing this petition.       E.
                                               Middle name                                                     Middle name
                                               Jones
                                               Last name                                                       Last name



                                               Business name (if applicable)                                   Business name (if applicable)


                                               Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                               xxx - xx - 5           9    8   9                               xxx - xx -
       Social Security number or
       federal Individual Taxpayer             OR                                                              OR
       Identification number                   9xx - xx -                                                      9xx - xx -
       (ITIN)

Official Form 101                                              Voluntary Petition for Individuals Filing for Bankruptcy                                           page 1
                           Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 2 of 21

 Debtor 1           Alexander            E.                            Jones                                          Case number (if known)
                    First Name           Middle Name                   Last Name


                                          About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification                    -                                                                -
       Number (EIN), if any.              EIN                                                               EIN


                                                       -                                                                -
                                          EIN                                                               EIN




                                                                                                            If Debtor 2 lives at a different address:
  5.   Where you live


                                          Number              Street                                        Number           Street




                                              Austin, TX 78735
                                          City                                     State    ZIP Code        City                                  State     ZIP Code

                                              Travis
                                          County                                                            County

                                          If your mailing address is different from the one above,          If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to     it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                      at this mailing address.

                                              c/o Vickie L. Driver STE 425
                                          Number              Street                                        Number           Street

                                              2525 McKinnon St.
                                          P.O. Box                                                          P.O. Box

                                              Dallas, TX 75201
                                          City                                     State    ZIP Code        City                                  State     ZIP Code




  6.   Why you are choosing this          Check one:                                                        Check one:
       district to file for bankruptcy
                                          ❑ Over the last 180 days before filing this petition, I           ❑ Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other              have lived in this district longer than in any other
                                                 district.                                                         district.
                                          ✔ I have another reason. Explain.
                                          ❑                                                                 ❑ I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                            (See 28 U.S.C. § 1408)

                                                   Affiliate case filed in this district (In re: Free

                                                   Speech Systems, LLC, Case No. 22-60043)




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 2
                          Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 3 of 21

 Debtor 1           Alexander          E.                      Jones                                            Case number (if known)
                    First Name         Middle Name             Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ❑ Chapter 7
                                       ✔
                                       ❑     Chapter 11
                                       ❑     Chapter 12
                                       ❑     Chapter 13



  8.   How you will pay the fee        ✔ I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                       ❑
                                            details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                            check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                            a credit card or check with a pre-printed address.
                                       ❑ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                            to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                            judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                            official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                            choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                            103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ✔ No.
                                       ❑
                                       ❑Yes. District
       within the last 8 years?
                                                                                                 When                       Case number
                                                                                                        MM / DD / YYYY

                                                 District                                        When                       Case number
                                                                                                        MM / DD / YYYY

                                                 District                                        When                       Case number
                                                                                                        MM / DD / YYYY




  10. Are any bankruptcy cases         ❑No.
       pending or being filed by a     ✔ Yes. Debtor Free Speech Systems, LLC
                                       ❑                                                                                 Relationship to you affiliate
       spouse who is not filing this
       case with you, or by a
       business partner, or by an                District Southern District of Texas          When 07/29/2022            Case number, if known 22-60043
       affiliate?                                                                                  MM / DD / YYYY
                                                 Debtor                                                                  Relationship to you

                                                 District                                     When                       Case number, if known
                                                                                                     MM / DD / YYYY




  11. Do you rent your residence?      ✔ No. Go to line 12.
                                       ❑
                                       ❑ Yes. Has your landlord obtained an eviction judgment against you?
                                                  ❑ No. Go to line 12.
                                                  ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                       as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 3
                          Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 4 of 21

 Debtor 1           Alexander              E.                      Jones                                            Case number (if known)
                    First Name             Middle Name              Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ✔ No. Go to Part 4.
                                           ❑
                                           ❑ Yes. Name and location of business
      any full- or part-time
      business?

      A sole proprietorship is a
      business you operate as an                Name of business, if any
      individual, and is not a separate
      legal entity such as a
      corporation, partnership, or LLC.         Number         Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.                                 City                                               State             ZIP Code


                                                Check the appropriate box to describe your business:
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ None of the above

  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
      11 of the Bankruptcy Code,           proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business
      and are you a small business         debtor or you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement
      debtor or a debtor as defined        of operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
      by 11 U.S. C. § 1182(1)?             procedure in 11 U.S.C. § 1116(1)(B).
      For a definition of small business   ❑ No.         I am not filing under Chapter 11.
      debtor, see 11 U.S.C. §
      101(51D).
                                           ✔ No.
                                           ❑             I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                         Bankruptcy Code.

                                           ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑ Yes.        I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy
                                                         Code, and I choose to proceed under Subchapter V of Chapter 11.




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                           Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 5 of 21

 Debtor 1           Alexander           E.                      Jones                                            Case number (if known)
                    First Name          Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any
                                        ✔ No.
                                        ❑
      property that poses or is
      alleged to pose a threat of
                                        ❑ Yes.        What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                  If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                  Where is the property?
                                                                               Number        Street




                                                                               City                                             State     ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                       page 5
                          Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 6 of 21

 Debtor 1           Alexander           E.                         Jones                                               Case number (if known)
                    First Name          Middle Name                Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                                   You must check one:

      receive a briefing about credit
      counseling before you file for
                                        ✔
                                        ❑    I received a briefing from an approved credit counseling         ❑ I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully        agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      check one of the following             petition, and I received a certificate of completion.                 petition, and I received a certificate of completion.
      choices. If you cannot do so,          Attach a copy of the certificate and the payment plan, if any,        Attach a copy of the certificate and the payment plan, if any,
      you are not eligible to file.          that you developed with the agency.                                   that you developed with the agency.

      If you file anyway, the court     ❑ I received a briefing from an approved credit counseling            ❑ I received a briefing from an approved credit counseling
      can dismiss your case, you will        agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      lose whatever filing fee you           petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      paid, and your creditors can           Within 14 days after you file this bankruptcy petition, you           Within 14 days after you file this bankruptcy petition, you
      begin collection activities            MUST file a copy of the certificate and payment plan, if any.         MUST file a copy of the certificate and payment plan, if any.

                                        ❑ I certify that I asked for credit counseling services from an       ❑ I certify that I asked for credit counseling services from an
      again.
                                             approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                             during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                             circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                             requirement.                                                          requirement.
                                             To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                             attach a separate sheet explaining what efforts you made to           attach a separate sheet explaining what efforts you made to
                                             obtain the briefing, why you were unable to obtain it before          obtain the briefing, why you were unable to obtain it before
                                             you filed for bankruptcy, and what exigent circumstances              you filed for bankruptcy, and what exigent circumstances
                                             required you to file this case.                                       required you to file this case.

                                             Your case may be dismissed if the court is dissatisfied with          Your case may be dismissed if the court is dissatisfied with
                                             your reasons for not receiving a briefing before you filed for        your reasons for not receiving a briefing before you filed for
                                             bankruptcy.                                                           bankruptcy.

                                             If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                             receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved agency, along           You must file a certificate from the approved agency, along
                                             with a copy of the payment plan you developed, if any. If you         with a copy of the payment plan you developed, if any. If you
                                             do not do so, your case may be dismissed.                             do not do so, your case may be dismissed.

                                             Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                             cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                        ❑ I am not required to receive a briefing about credit                ❑ I am not required to receive a briefing about credit
                                             counseling because of:                                                counseling because of:
                                             ❑ Incapacity. I have a mental illness or a mental                     ❑ Incapacity. I have a mental illness or a mental
                                                                deficiency that makes me incapable of                                 deficiency that makes me incapable of
                                                                realizing or making rational decisions                                realizing or making rational decisions
                                                                about finances.                                                       about finances.
                                             ❑ Disability.      My physical disability causes me to be             ❑ Disability.      My physical disability causes me to be
                                                                unable to participate in a briefing in                                unable to participate in a briefing in
                                                                person, by phone, or through the                                      person, by phone, or through the
                                                                internet, even after I reasonably tried to                            internet, even after I reasonably tried to
                                                                do so.                                                                do so.
                                             ❑ Active duty. I am currently on active military duty in              ❑ Active duty. I am currently on active military duty in
                                                               a military combat zone.                                               a military combat zone.


                                             If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                             about credit counseling, you must file a motion for waiver of         about credit counseling, you must file a motion for waiver of
                                             credit counseling with the court.                                     credit counseling with the court.




Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                                               page 6
                           Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 7 of 21

 Debtor 1           Alexander             E.                      Jones                                            Case number (if known)
                    First Name            Middle Name             Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you                16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                         “incurred by an individual primarily for a personal, family, or household purpose.”
                                                    ✔ No. Go to line 16b.
                                                    ❑
                                                    ❑ Yes. Go to line 17.
                                               16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                    for a business or investment or through the operation of the business or investment.
                                                    ❑ No. Go to line 16c.
                                                    ✔ Yes. Go to line 17.
                                                    ❑
                                               16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?          ✔
                                               ❑    No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any           ❑    Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                         administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                       ❑ No
      paid that funds will be available                     ❑ Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you                 ❑ 1-49    ❑ 1,000-5,000                   ❑ 25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                    ✔
                                                ❑ 50-99   ❑ 5,001-10,000
                                                ❑ 100-199 ❑ 10,001-25,000
                                                ❑ 200-999

  19. How much do you estimate your             ❑ $0-$50,000                       ✔ $1,000,001-$10 million
                                                                                   ❑                                          ❑ $500,000,001-$1 billion
      assets to be worth?                       ❑ $50,001-$100,000                 ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                                ❑ $100,001-$500,000                ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                                ❑ $500,001-$1 million              ❑ $100,000,001-$500 million                ❑ More than $50 billion

  20. How much do you estimate your             ❑ $0-$50,000                       ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      liabilities to be?                        ❑ $50,001-$100,000                 ❑ $10,000,001-$50 million                  ✔ $1,000,000,001-$10 billion
                                                                                                                              ❑
                                                ❑ $100,001-$500,000                ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                                ❑ $500,001-$1 million              ❑ $100,000,001-$500 million                ❑ More than $50 billion
 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                   ✘ /s/ Alex Jones
                                       Alex Jones, Debtor 1
                                       Executed on 11/30/22
                                                        MM/ DD/ YYYY




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 8 of 21
                           Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 9 of 21

 Debtor 1           Alexander               E.                        Jones                                           Case number (if known)
                    First Name              Middle Name               Last Name



   For your attorney, if you are                 I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                            proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                                 each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an              11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this        that the information in the schedules filed with the petition is incorrect.
   page.

                                                 ✘ /s/ Vickie L. Driver                                                 Date 12/02/2022
                                                      Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                     Vickie L. Driver
                                                     Printed name

                                                     Crowe & Dunlevy, P. C.
                                                     Firm name

                                                     2525 McKinnon St., Suite 425
                                                     Number     Street



                                                     Dallas                                                           TX      75201
                                                     City                                                             State   ZIP Code



                                                     Contact phone (737)218-6187                        Email address Dallaseservice@crowedunlevy.com


                                                     24026886                                                         TX
                                                     Bar number                                                       State




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 8
        Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 10 of 21




                                               Certificate Number: 15725-TXW-CC-037008086


                                                              15725-TXW-CC-037008086




                    CERTIFICATE OF COUNSELING

I CERTIFY that on November 29, 2022, at 8:09 o'clock PM EST, Alexander
Jones received from 001 Debtorcc, Inc., an agency approved pursuant to 11
U.S.C. 111 to provide credit counseling in the Western District of Texas, an
individual [or group] briefing that complied with the provisions of 11 U.S.C.
109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   November 29, 2022                      By:      /s/Alexis Preza-Alva


                                               Name: Alexis Preza-Alva


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
                                   Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 11 of 21

 Fill in this information to identify your case:

  Debtor 1                       Alexander              E.                Jones
                                 First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)            First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                            Southern District of Texas

  Case number                                                                                                                        ❑ Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims Against You and Are Not Insiders                                                                                                      12/15
If you are a individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or Chapter 13, do not fill
out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners; relatives of any general partners;
partnerships of which you are a general partner; corporations of which you are an officer, director, person in control, or owner of 20 percent or more of their
voting securities; and any managing agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Also, do not include claims by
secured creditors unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured
claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.


 Part 1: List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

 1                                                              What is the nature of the claim?                  Litigation Claim                   $120,000,000.00

     Robert Parker                                              As of the date you file, the claim is: Check all that apply.
     Creditor's Name                                            ✔ Contingent
                                                                ❑
     c/o Ryan Chapple                                           ✔ Unliquidated
                                                                ❑
     Cain & Skarnulis                                           ✔ Disputed
                                                                ❑
     303 Colorado St, STE 2850
     Number             Street                                  ❑ None of the above apply
     Austin, TX 78701                                           Does the creditor have a lien on your property? Unsecured
     City                               State       Zip Code    ✔ No
                                                                ❑
                                                                ❑ Yes.
     Contact                                                    Total claim (secured and unsecured):
                                                                Value of security:                            –
                                                                Unsecured Claim:
     Contact phone


Official Form 104                             For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                       page 1
                                Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 12 of 21

 Debtor 1                Alexander             E.                     Jones                                             Case number (if known)
                         First Name            Middle Name            Last Name
                                                                                                                                                 Unsecured claim

 2                                                           What is the nature of the claim?                  Litigation Claim                     $90,000,000.00

     William Aldenberg                                       As of the date you file, the claim is: Check all that apply.
     Creditor's Name                                         ✔ Contingent
                                                             ❑
     c/o Ryan Chapple                                        ✔ Unliquidated
                                                             ❑
     Cain & Skarnulis PLLC                                   ✔ Disputed
                                                             ❑
     303 Colorado St, STE 2850
     Number           Street                                 ❑ None of the above apply
     Austin, TX 78701                                        Does the creditor have a lien on your property? Unsecured
     City                             State     Zip Code     ✔ No
                                                             ❑
                                                             ❑ Yes.
     Contact                                                 Total claim (secured and unsecured):
                                                             Value of security:                            –
                                                             Unsecured Claim:
     Contact phone


 3                                                           What is the nature of the claim?                  Litigation Claim                     $81,600,000.00

     Ian Hockley                                             As of the date you file, the claim is: Check all that apply.
     Creditor's Name                                         ✔ Contingent
                                                             ❑
     c/o Ryan Chapple                                        ✔ Unliquidated
                                                             ❑
     Cain & Skarnulis PLLC                                   ✔ Disputed
                                                             ❑
     303 Colorado St, STE 2850
     Number           Street                                 ❑ None of the above apply
     Austin, TX 78701                                        Does the creditor have a lien on your property? Unsecured
     City                             State     Zip Code     ✔ No
                                                             ❑
                                                             ❑ Yes.
     Contact                                                 Total claim (secured and unsecured):
                                                             Value of security:                            –
                                                             Unsecured Claim:
     Contact phone


 4                                                           What is the nature of the claim?                  Litigation Claim                     $76,000,000.00

     Erica Lafferty                                          As of the date you file, the claim is: Check all that apply.
     Creditor's Name                                         ✔ Contingent
                                                             ❑
     c/o Ryan Chapple                                        ✔ Unliquidated
                                                             ❑
     Cain & Skarnulis PLLC                                   ✔ Disputed
                                                             ❑
     303 Colorado St., STE 2850
     Number           Street                                 ❑ None of the above apply
     Austin, TX 78701                                        Does the creditor have a lien on your property? Unsecured
     City                             State     Zip Code     ✔ No
                                                             ❑
                                                             ❑ Yes.
     Contact                                                 Total claim (secured and unsecured):
                                                             Value of security:                            –
                                                             Unsecured Claim:
     Contact phone




Official Form 104                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         page 2
                               Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 13 of 21

 Debtor 1               Alexander             E.                     Jones                                             Case number (if known)
                        First Name            Middle Name            Last Name
                                                                                                                                                Unsecured claim

 5                                                          What is the nature of the claim?                  Litigation Claim                     $73,600,000.00

     Nicole Hockley                                         As of the date you file, the claim is: Check all that apply.
     Creditor's Name                                        ✔ Contingent
                                                            ❑
     c/o Ryan Chapple                                       ✔ Unliquidated
                                                            ❑
     Cain & Skarnulis PLLC                                  ✔ Disputed
                                                            ❑
     303 Colorado St, STE 2850
     Number          Street                                 ❑ None of the above apply
     Austin, TX 78701                                       Does the creditor have a lien on your property? Unsecured
     City                            State     Zip Code     ✔ No
                                                            ❑
                                                            ❑ Yes.
     Contact                                                Total claim (secured and unsecured):
                                                            Value of security:                            –
                                                            Unsecured Claim:
     Contact phone


 6                                                          What is the nature of the claim?                  Litigation Claim                     $68,800,000.00

     Jillian Soto-Marino                                    As of the date you file, the claim is: Check all that apply.
     Creditor's Name                                        ✔ Contingent
                                                            ❑
     c/o Ryan Chapple                                       ✔ Unliquidated
                                                            ❑
     Cain & Skarnulis PLLC                                  ✔ Disputed
                                                            ❑
     303 Colorado St, STE 2850
     Number          Street                                 ❑ None of the above apply
     Austin, TX 78701                                       Does the creditor have a lien on your property? Unsecured
     City                            State     Zip Code     ✔ No
                                                            ❑
                                                            ❑ Yes.
     Contact                                                Total claim (secured and unsecured):
                                                            Value of security:                            –
                                                            Unsecured Claim:
     Contact phone


 7                                                          What is the nature of the claim?                  Litigation Claim                     $66,000,000.00

     Carlee Soto Parisi                                     As of the date you file, the claim is: Check all that apply.
     Creditor's Name                                        ✔ Contingent
                                                            ❑
     c/o Ryan Chapple                                       ✔ Unliquidated
                                                            ❑
     Cain & Skarnulis PLLC                                  ✔ Disputed
                                                            ❑
     303 Colorado St, STE 2850
     Number          Street                                 ❑ None of the above apply
     Austin, TX 78701                                       Does the creditor have a lien on your property? Unsecured
     City                            State     Zip Code     ✔ No
                                                            ❑
                                                            ❑ Yes.
     Contact                                                Total claim (secured and unsecured):
                                                            Value of security:                            –
                                                            Unsecured Claim:
     Contact phone




Official Form 104                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         page 3
                               Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 14 of 21

 Debtor 1               Alexander             E.                     Jones                                             Case number (if known)
                        First Name            Middle Name            Last Name
                                                                                                                                                Unsecured claim

 8                                                          What is the nature of the claim?                  Litigation Claim                     $57,600,000.00

     Carlos M. Soto                                         As of the date you file, the claim is: Check all that apply.
     Creditor's Name                                        ✔ Contingent
                                                            ❑
     c/o Ryan Chapple                                       ✔ Unliquidated
                                                            ❑
     Cain & Skarnulis PLLC                                  ✔ Disputed
                                                            ❑
     303 Colorado St, STE 2850
     Number          Street                                 ❑ None of the above apply
     Austin, TX 78701                                       Does the creditor have a lien on your property? Unsecured
     City                            State     Zip Code     ✔ No
                                                            ❑
                                                            ❑ Yes.
     Contact                                                Total claim (secured and unsecured):
                                                            Value of security:                            –
                                                            Unsecured Claim:
     Contact phone


 9                                                          What is the nature of the claim?                  Litigation Claim                     $57,600,000.00

     Mark Barden                                            As of the date you file, the claim is: Check all that apply.
     Creditor's Name                                        ✔ Contingent
                                                            ❑
     c/o Ryan Chapple                                       ✔ Unliquidated
                                                            ❑
     Cain & Skarnulis PLLC                                  ✔ Disputed
                                                            ❑
     303 Colorado St, STE 2850
     Number          Street                                 ❑ None of the above apply
     Austin, TX 78701                                       Does the creditor have a lien on your property? Unsecured
     City                            State     Zip Code     ✔ No
                                                            ❑
                                                            ❑ Yes.
     Contact                                                Total claim (secured and unsecured):
                                                            Value of security:                            –
                                                            Unsecured Claim:
     Contact phone


 10                                                         What is the nature of the claim?                  Litigation Claim                     $55,000,000.00

     David Wheeler                                          As of the date you file, the claim is: Check all that apply.
     Creditor's Name                                        ✔ Contingent
                                                            ❑
     c/o Ryan Chapple                                       ✔ Unliquidated
                                                            ❑
     Cain & Skarnulis PLLC                                  ✔ Disputed
                                                            ❑
     303 Colorado St, STE 2850
     Number          Street                                 ❑ None of the above apply
     Austin, TX 78701                                       Does the creditor have a lien on your property? Unsecured
     City                            State     Zip Code     ✔ No
                                                            ❑
                                                            ❑ Yes.
     Contact                                                Total claim (secured and unsecured):
                                                            Value of security:                            –
                                                            Unsecured Claim:
     Contact phone




Official Form 104                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         page 4
                              Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 15 of 21

 Debtor 1              Alexander             E.                     Jones                                             Case number (if known)
                       First Name            Middle Name            Last Name
                                                                                                                                               Unsecured claim

 11                                                        What is the nature of the claim?                  Litigation Claim                     $54,000,000.00

   Francine Wheeler                                        As of the date you file, the claim is: Check all that apply.
   Creditor's Name                                         ✔ Contingent
                                                           ❑
   c/o Ryan Chapple                                        ✔ Unliquidated
                                                           ❑
   Cain & Skarnulis PLLC                                   ✔ Disputed
                                                           ❑
   303 Colorado St, STE 2850
   Number           Street                                 ❑ None of the above apply
   Austin, TX 78701                                        Does the creditor have a lien on your property? Unsecured
   City                             State     Zip Code     ✔ No
                                                           ❑
                                                           ❑ Yes.
   Contact                                                 Total claim (secured and unsecured):
                                                           Value of security:                            –
                                                           Unsecured Claim:
   Contact phone


 12                                                        What is the nature of the claim?                  Litigation Claim                     $52,000,000.00

   Jennifer Hensel                                         As of the date you file, the claim is: Check all that apply.
   Creditor's Name                                         ✔ Contingent
                                                           ❑
   c/o Ryan Chapple                                        ✔ Unliquidated
                                                           ❑
   Cain & Skarnulis PLLC                                   ✔ Disputed
                                                           ❑
   303 Colorado St, STE 2850
   Number           Street                                 ❑ None of the above apply
   Austin, TX 78701                                        Does the creditor have a lien on your property? Unsecured
   City                             State     Zip Code     ✔ No
                                                           ❑
                                                           ❑ Yes.
   Contact                                                 Total claim (secured and unsecured):
                                                           Value of security:                            –
                                                           Unsecured Claim:
   Contact phone


 13                                                        What is the nature of the claim?                  Litigation Claim                     $48,000,000.00

   Donna Soto                                              As of the date you file, the claim is: Check all that apply.
   Creditor's Name                                         ✔ Contingent
                                                           ❑
   c/o Ryan Chapple                                        ✔ Unliquidated
                                                           ❑
   Cain & Skarnulis PLLC                                   ✔ Disputed
                                                           ❑
   303 Colorado St, STE 2850
   Number           Street                                 ❑ None of the above apply
   Austin, TX 78701                                        Does the creditor have a lien on your property? Unsecured
   City                             State     Zip Code     ✔ No
                                                           ❑
                                                           ❑ Yes.
   Contact                                                 Total claim (secured and unsecured):
                                                           Value of security:                            –
                                                           Unsecured Claim:
   Contact phone




Official Form 104                       For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         page 5
                              Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 16 of 21

 Debtor 1              Alexander             E.                     Jones                                             Case number (if known)
                       First Name            Middle Name            Last Name
                                                                                                                                               Unsecured claim

 14                                                        What is the nature of the claim?                  Litigation Claim                     $36,000,000.00

   William Sherlach                                        As of the date you file, the claim is: Check all that apply.
   Creditor's Name                                         ✔ Contingent
                                                           ❑
   c/o Ryan Chapple                                        ✔ Unliquidated
                                                           ❑
   Cain & Skarnulis PLLC                                   ✔ Disputed
                                                           ❑
   303 Colorado St, STE 2850
   Number           Street                                 ❑ None of the above apply
   Austin, TX 78701                                        Does the creditor have a lien on your property? Unsecured
   City                             State     Zip Code     ✔ No
                                                           ❑
                                                           ❑ Yes.
   Contact                                                 Total claim (secured and unsecured):
                                                           Value of security:                            –
                                                           Unsecured Claim:
   Contact phone


 15                                                        What is the nature of the claim?                  Litigation Claim                     $28,800,000.00

   Jacqueline Barden                                       As of the date you file, the claim is: Check all that apply.
   Creditor's Name                                         ✔ Contingent
                                                           ❑
   c/o Ryan Chapple                                        ✔ Unliquidated
                                                           ❑
   Cain & Skarnulis PLLC                                   ✔ Disputed
                                                           ❑
   303 Colorado St, STE 2850
   Number           Street                                 ❑ None of the above apply
   Austin, TX 78701                                        Does the creditor have a lien on your property? Unsecured
   City                             State     Zip Code     ✔ No
                                                           ❑
                                                           ❑ Yes.
   Contact                                                 Total claim (secured and unsecured):
                                                           Value of security:                            –
                                                           Unsecured Claim:
   Contact phone


 16                                                        What is the nature of the claim?                  Litigation Claim                      $2,110,000.00

   Neil Heslin                                             As of the date you file, the claim is: Check all that apply.
   Creditor's Name                                         ✔ Contingent
                                                           ❑
   c/o Jarrod B. Martin                                    ✔ Unliquidated
                                                           ❑
   Chamberlain Hrdlicka                                    ✔ Disputed
                                                           ❑
   1200 Smith Street, STE 1400
   Number           Street                                 ❑ None of the above apply
   Houston, TX 77002                                       Does the creditor have a lien on your property? Unsecured
   City                             State     Zip Code     ✔ No
                                                           ❑
                                                           ❑ Yes.
   Contact                                                 Total claim (secured and unsecured):
                                                           Value of security:                            –
                                                           Unsecured Claim:
   Contact phone




Official Form 104                       For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         page 6
                              Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 17 of 21

 Debtor 1              Alexander             E.                     Jones                                             Case number (if known)
                       First Name            Middle Name            Last Name
                                                                                                                                               Unsecured claim

 17                                                        What is the nature of the claim?                  Litigation Claim                      $2,000,000.00

   Scarlett Lewis                                          As of the date you file, the claim is: Check all that apply.
   Creditor's Name                                         ✔ Contingent
                                                           ❑
   c/o Jarrod B. Martin                                    ✔ Unliquidated
                                                           ❑
   Chamberlain Hrdlicka                                    ✔ Disputed
                                                           ❑
   1200 Smith Street, STE 1400
   Number           Street                                 ❑ None of the above apply
   Houston, TX 77002                                       Does the creditor have a lien on your property? Unsecured
   City                             State     Zip Code     ✔ No
                                                           ❑
                                                           ❑ Yes.
   Contact                                                 Total claim (secured and unsecured):
                                                           Value of security:                            –
                                                           Unsecured Claim:
   Contact phone


 18                                                        What is the nature of the claim?                    Credit Card                           $150,000.00

   American Express                                        As of the date you file, the claim is: Check all that apply.
   Creditor's Name
                                                           ❑ Contingent
   PO Box 650448                                           ❑ Unliquidated
   Number           Street                                 ✔ Disputed
                                                           ❑
   Dallas, TX 75265                                        ❑ None of the above apply
   City                             State     Zip Code
                                                           Does the creditor have a lien on your property? Unsecured
                                                           ✔ No
                                                           ❑
   Contact
                                                           ❑ Yes.
                                                           Total claim (secured and unsecured):
   Contact phone                                           Value of security:                            –
                                                           Unsecured Claim:


 19                                                        What is the nature of the claim?

                                                           As of the date you file, the claim is: Check all that apply.
   Creditor's Name                                         ❑ Contingent
                                                           ❑ Unliquidated
   Number           Street                                 ❑ Disputed
                                                           ❑ None of the above apply
                                                           Does the creditor have a lien on your property?
   City                             State     Zip Code     ❑ No
                                                           ❑ Yes.
   Contact                                                 Total claim (secured and unsecured):
                                                           Value of security:                            –
   Contact phone
                                                           Unsecured Claim:




Official Form 104                       For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         page 7
                            Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 18 of 21

Debtor 1             Alexander              E.                     Jones                                           Case number (if known)
                     First Name             Middle Name            Last Name
                                                                                                                                            Unsecured claim

20                                                        What is the nature of the claim?

                                                          As of the date you file, the claim is: Check all that apply.
  Creditor's Name                                         ❑ Contingent
                                                          ❑ Unliquidated
  Number          Street                                  ❑ Disputed
                                                          ❑ None of the above apply
                                                          Does the creditor have a lien on your property?
  City                            State      Zip Code     ❑ No
                                                          ❑ Yes.
  Contact                                                 Total claim (secured and unsecured):
                                                          Value of security:                            –
  Contact phone
                                                          Unsecured Claim:


Part 2: Sign Below



     Under penalty of perjury, I declare that the information provided in this form is true and correct.



 ✘                         /s/ Alex Jones                            ✘
       Signature of Debtor 1                                               Signature of Debtor 2


       Date 12/02/2022                                                     Date
             MM/ DD/ YYYY                                                         MM/ DD/ YYYY
         Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 19 of 21



                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

In re:                                          §    Chapter 11
                                                §
ALEXANDER E. JONES,                             §    Case No. ____________
                                                §
         Debtor.                                §    (Joint Administration Requested)
                                                §

                    STATEMENT PURSUANT TO 11 U.S.C. § 1116(1)(b)

         I, Alexander E. Jones, the Debtor in the above-styled bankruptcy proceeding, state under

penalty of perjury and pursuant to 11 U.S.C. § 1116(1)(B) that I have no balance sheet, statement

of operations, or cash-flow statement.

         Dated: December 2, 2022.

                                                     /s/Alexander E. Jones
                                                     Alexander E. Jones
                                                     Debtor
                            Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 20 of 21


 B2030 (Form 2030) (12/15)


                                                              United States Bankruptcy Court
                                                                                   Southern District of Texas

 In re        Jones, Alexander E.

                                                                                                                             Case No.

 Debtor                                                                                                                      Chapter                      11


                                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

 1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
         compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
         or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

         For legal services, I have agreed to accept ..............................................................................................                   $500,000.00

         Prior to the filing of this statement I have received ...................................................................................                     $48,193.00

         Balance Due ..............................................................................................................................................        $0.001

 2.      The source of the compensation paid to me was:

         ❑ Debtor                          ✔ Other (specify)
                                           ❑                                The Missouri779384 Trust

 3.      The source of compensation to be paid to me is:

         ❑ Debtor                          ✔ Other (specify)
                                           ❑
 4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
         ❑
         law firm.

         ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
         law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

 5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

         a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                 bankruptcy;

         b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

         c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

         d.      Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

 6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:
         None currently.




1 This is the retainer accepted; this is not any limit or cap on the fees that will be charged in our representation of this

Debtor.
                                                                                                    Page 1 of 2
                  Case 22-33553 Document 1 Filed in TXSB on 12/02/22 Page 21 of 21


B2030 (Form 2030) (12/15)



                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                12/2/2022                                                       /s/ Vickie L. Driver
                Date                                         Vickie L. Driver
                                                             Signature of Attorney
                                                                                              Bar Number: 24026886
                                                                                              Crowe & Dunlevy, P. C.
                                                                                       2525 McKinnon St., Suite 425
                                                                                                     Dallas, TX 75201
                                                                                              Phone: (737) 218-6187

                                                                             Crowe & Dunlevy, P. C.
                                                             Name of law firm




                                                                 Page 2 of 2
